                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                                5:17-CV-333-BO


  VENICE PI, LLC,
                                                     )
                                                     )
                                Plaintiff,
                                                     )
                                                     )
         v.
                                                     )
                                                     )
                                                     )
  DOES 1-12,
                                                     )
                                                     )
                                Defendants.



           ORDER EXTENDING TIME FOR PLAINTIFF TO SERVE DEFENDANTS

       Plaintiff, Venice PI, LLC, has, by counsel and pursuant to FED.R.Crv.P. 4(m) and 6(b),

filed a Second Motion to Extend Time to Serve Defendants. Upon review of the Motion, it appears

that the time for Plaintiff to serve Defendants has not expired, and Plaintiff has stated good cause

for the extension.

       IT IS THEREFORE ORDERED that the Second Motion to Extend Time to Serve

Defendants is granted and that Plaintiff is granted an additional period of time, to and including




       This   the   ~y of~-,                     .
April 7, 2018, to serve Defendants, pursuant to FED.R.Crv.P. 4.

                                                   2018.




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